DocuSign Envelope ID: 6E9FD92D-DAEF-427F-8F6D-0B10B7AFBB16




        Fill in this information to identify your case:
        United States Bankruptcy Court for the:
        WESTERN DIST. OF WASHINGTON

        Case number (if known):                                      Chapter you are filing under:
                                                                               Chapter 7
                                                                               Chapter 11
                                                                               Chapter 12
                                                                                                                                    Check if this is an
                                                                               Chapter 13
                                                                                                                                    amended filing



       Official Form 101
       Voluntary Petition for Individuals Filing for Bankruptcy                                                                                           06/22

       The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
       together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
       a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
       spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
       must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

       Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
       correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
       your name and case number (if known). Answer every question.



        Part 1:       Identify Yourself
                                              About Debtor 1:                                          About Debtor 2 (Spouse Only in a Joint Case):
       1.   Your full name
            Write the name that is on your
                                              Stephen
            government-issued picture
                                              First Name                                               First Name
            identification (for example,
            your driver's license or          Robert
            passport).                        Middle Name                                              Middle Name

                                              Brown
            Bring your picture                Last Name                                                Last Name
            identification to your meeting
            with the trustee.                 Suffix (Sr., Jr., II, III)                               Suffix (Sr., Jr., II, III)


       2.   All other names you
            have used in the last 8           First Name                                               First Name
            years
                                              Middle Name                                              Middle Name
            Include your married or
            maiden names.
                                              Last Name                                                Last Name


       3.   Only the last 4 digits of
            your Social Security              xxx – xx –                   2        8       8    0     xxx – xx –
            number or federal                 OR                                                       OR
            Individual Taxpayer
            Identification number             9xx – xx –                                               9xx – xx –
            (ITIN)




       Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                              page 1

                Case 22-40997-BDL                  Doc 1               Filed 08/11/22           Ent. 08/11/22 16:17:03                   Pg. 1 of 14
DocuSign Envelope ID: 6E9FD92D-DAEF-427F-8F6D-0B10B7AFBB16




       Debtor 1     Stephen Robert Brown                                                          Case number (if known)

                                         About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

       4.   Any business names                   I have not used any business names or EINs.                 I have not used any business names or EINs.
            and Employer
            Identification Numbers
            (EIN) you have used in       Business name                                                Business name
            the last 8 years
                                         Business name                                                Business name
            Include trade names and
            doing business as names
                                         Business name                                                Business name

                                                      –                                                           –
                                         EIN                                                          EIN

                                                      –                                                           –
                                         EIN                                                          EIN
       5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                         245 Shorewood Court
                                         Number       Street                                          Number      Street




                                         Fox Island                      WA       98333
                                         City                            State    ZIP Code            City                           State    ZIP Code

                                         Pierce
                                         County                                                       County

                                         If your mailing address is different from                    If Debtor 2's mailing address is different
                                         the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                         court will send any notices to you at this                   will send any notices to you at this mailing
                                         mailing address.                                             address.



                                         Number       Street                                          Number      Street


                                         P.O. Box                                                     P.O. Box


                                         City                            State    ZIP Code            City                           State    ZIP Code


       6.   Why you are choosing         Check one:                                                   Check one:
            this district to file for
            bankruptcy                           Over the last 180 days before filing this                   Over the last 180 days before filing this
                                                 petition, I have lived in this district longer              petition, I have lived in this district longer
                                                 than in any other district.                                 than in any other district.

                                                 I have another reason. Explain.                             I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


        Part 2:       Tell the Court About Your Bankruptcy Case

       7.   The chapter of the          Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
            Bankruptcy Code you         for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
            are choosing to file
            under                               Chapter 7

                                                Chapter 11

                                                Chapter 12

                                                Chapter 13



       Official Form 101                        Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2

                  Case 22-40997-BDL             Doc 1          Filed 08/11/22            Ent. 08/11/22 16:17:03                    Pg. 2 of 14
DocuSign Envelope ID: 6E9FD92D-DAEF-427F-8F6D-0B10B7AFBB16




       Debtor 1     Stephen Robert Brown                                                  Case number (if known)

       8.   How you will pay the fee        I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                            court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                            pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                            behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                            I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                            Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                            By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                            than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                            fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                            Filing Fee Waived (Official Form 103B) and file it with your petition.


       9.   Have you filed for              No
            bankruptcy within the
            last 8 years?                   Yes.

                                       District                                               When                    Case number
                                                                                                     MM / DD / YYYY
                                       District                                               When                    Case number
                                                                                                     MM / DD / YYYY

                                       District                                               When                    Case number
                                                                                                     MM / DD / YYYY

       10. Are any bankruptcy               No
           cases pending or being
           filed by a spouse who is         Yes.
           not filing this case with
                                       Debtor                                                             Relationship to you
           you, or by a business
           partner, or by an           District                                               When                    Case number,
           affiliate?                                                                                MM / DD / YYYY   if known


                                       Debtor                                                             Relationship to you

                                       District                                               When                    Case number,
                                                                                                     MM / DD / YYYY   if known

       11. Do you rent your                 No.    Go to line 12.
           residence?                       Yes. Has your landlord obtained an eviction judgment against you?

                                                        No. Go to line 12.
                                                        Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                        and file it as part of this bankruptcy petition.




       Official Form 101                     Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3

                  Case 22-40997-BDL          Doc 1       Filed 08/11/22            Ent. 08/11/22 16:17:03                 Pg. 3 of 14
DocuSign Envelope ID: 6E9FD92D-DAEF-427F-8F6D-0B10B7AFBB16




       Debtor 1     Stephen Robert Brown                                                        Case number (if known)


        Part 3:      Report About Any Businesses You Own as a Sole Proprietor

       12. Are you a sole proprietor             No. Go to Part 4.
           of any full- or part-time             Yes. Name and location of business
           business?

           A sole proprietorship is a
                                                       Name of business, if any
           business you operate as an
           individual, and is not a
           separate legal entity such as               Number     Street
           a corporation, partnership, or
           LLC.

           If you have more than one                   City                                                    State           ZIP Code
           sole proprietorship, use a
           separate sheet and attach it                Check the appropriate box to describe your business:
           to this petition.
                                                              Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                              Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                              Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                              Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                              None of the above

       13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
           Chapter 11 of the                choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
           Bankruptcy Code, and             are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
           are you a small business         most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
           debtor or a debtor as            or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
           defined by 11 U.S.C.
           § 1182(1)?                            No.   I am not filing under Chapter 11.
           For a definition of small
                                                 No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
           business debtor, see
                                                       the Bankruptcy Code.
           11 U.S.C. § 101(51D).
                                                 Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                      Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                                 Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                      Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.

        Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

       14. Do you own or have any                No
           property that poses or is             Yes. What is the hazard?
           alleged to pose a threat of
           imminent and identifiable
           hazard to public health or
           safety? Or do you own
           any property that needs                     If immediate attention is needed, why is it needed?
           immediate attention?

           For example, do you own
           perishable goods, or
           livestock that must be fed, or              Where is the property?
           a building that needs urgent                                           Number     Street
           repairs?



                                                                                  City                                     State          ZIP Code




       Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                           page 4

                  Case 22-40997-BDL              Doc 1         Filed 08/11/22              Ent. 08/11/22 16:17:03             Pg. 4 of 14
DocuSign Envelope ID: 6E9FD92D-DAEF-427F-8F6D-0B10B7AFBB16




       Debtor 1     Stephen Robert Brown                                                        Case number (if known)


        Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
       15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
           whether you             You must check one:                                          You must check one:
           have received a           I received a briefing from an approved credit                I received a briefing from an approved credit
           briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
           credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
           counseling.               certificate of completion.                                   certificate of completion.
                                      Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
           The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
           that you receive a
                                      I received a briefing from an approved credit                I received a briefing from an approved credit
           briefing about credit
                                      counseling agency within the 180 days before I               counseling agency within the 180 days before I
           counseling before
                                      filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
           you file for
                                      a certificate of completion.                                 a certificate of completion.
           bankruptcy. You
           must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
           check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
           following choices.         plan, if any.                                                plan, if any.
           If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
           you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
           to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                                      days after I made my request, and exigent                    days after I made my request, and exigent
           If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
           the court can              waiver of the requirement.                                   waiver of the requirement.
           dismiss your case,
           you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
           whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
           you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
           creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
           collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
           again.                     required you to file this case.                              required you to file this case.

                                      Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                      dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                                      briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                                      If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                                      still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                                      You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                                      along with a copy of the payment plan you                    along with a copy of the payment plan you
                                      developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                                      may be dismissed.                                            may be dismissed.

                                      Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                                      for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                                      I am not required to receive a briefing about                I am not required to receive a briefing about
                                      credit counseling because of:                                credit counseling because of:
                                          Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                         deficiency that makes me                                     deficiency that makes me
                                                         incapable of realizing or making                             incapable of realizing or making
                                                         rational decisions about finances.                           rational decisions about finances.
                                          Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                         to be unable to participate in a                             to be unable to participate in a
                                                         briefing in person, by phone, or                             briefing in person, by phone, or
                                                         through the internet, even after I                           through the internet, even after I
                                                         reasonably tried to do so.                                   reasonably tried to do so.
                                          Active duty. I am currently on active military               Active duty. I am currently on active military
                                                       duty in a military combat zone.                              duty in a military combat zone.
                                      If you believe you are not required to receive a             If you believe you are not required to receive a
                                      briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                                      motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.


       Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                          page 5

                  Case 22-40997-BDL               Doc 1        Filed 08/11/22              Ent. 08/11/22 16:17:03              Pg. 5 of 14
DocuSign Envelope ID: 6E9FD92D-DAEF-427F-8F6D-0B10B7AFBB16




       Debtor 1     Stephen Robert Brown                                                      Case number (if known)


        Part 6:      Answer These Questions for Reporting Purposes
       16. What kind of debts do you      16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
           have?                                  as "incurred by an individual primarily for a personal, family, or household purpose."
                                                        No. Go to line 16b.
                                                        Yes. Go to line 17.

                                          16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                  money for a business or investment or through the operation of the business or investment.
                                                       No. Go to line 16c.
                                                       Yes. Go to line 17.

                                          16c.    State the type of debts you owe that are not consumer or business debts.


       17. Are you filing under
           Chapter 7?                            No.   I am not filing under Chapter 7. Go to line 18.

           Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
           any exempt property is                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
           excluded and
           administrative expenses                          No
           are paid that funds will be
                                                            Yes
           available for distribution
           to unsecured creditors?

       18. How many creditors do                 1-49                             1,000-5,000                        25,001-50,000
           you estimate that you                 50-99                            5,001-10,000                       50,001-100,000
           owe?                                  100-199                          10,001-25,000                      More than 100,000
                                                 200-999

       19. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
           estimate your assets to               $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
           be worth?                             $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                                 $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

       20. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
           estimate your liabilities to          $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
           be?                                   $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                                 $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




       Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                        page 6

                  Case 22-40997-BDL              Doc 1       Filed 08/11/22            Ent. 08/11/22 16:17:03                Pg. 6 of 14
DocuSign Envelope ID: 6E9FD92D-DAEF-427F-8F6D-0B10B7AFBB16




       Debtor 1     Stephen Robert Brown                                                   Case number (if known)


        Part 7:      Sign Below
       For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                      and correct.

                                      If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                      or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                      proceed under Chapter 7.

                                      If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                      fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                      I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                      I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                      connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                      or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                      X                                                           X
                                           Stephen Robert Brown, Debtor 1                             Signature of Debtor 2

                                           Executed on
                                                       8/11/2022                                      Executed on
                                                       MM / DD / YYYY                                               MM / DD / YYYY




       Official Form 101                     Voluntary Petition for Individuals Filing for Bankruptcy                                            page 7

                  Case 22-40997-BDL         Doc 1       Filed 08/11/22             Ent. 08/11/22 16:17:03                  Pg. 7 of 14
DocuSign Envelope ID: 6E9FD92D-DAEF-427F-8F6D-0B10B7AFBB16




       Debtor 1     Stephen Robert Brown                                                   Case number (if known)

       For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
       represented by one              eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                       relief available under each chapter for which the person is eligible. I also certify that I have delivered to
       If you are not represented by   the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
       an attorney, you do not need    certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
       to file this page.              is incorrect.


                                                                                                                    8/11/2022
                                       X                                                                     Date
                                           Signature of Attorney for Debtor                                         MM / DD / YYYY


                                           Mark C. McClure
                                           Printed name
                                           Law Office of Mark McClure, P.S.
                                           Firm Name
                                           1103 W Meeker St, Ste 101
                                           Number         Street




                                           Kent                                                      WA              98032
                                           City                                                      State           ZIP Code


                                           Contact phone (253) 631-6484                    Email address Mark@McClureLawGroup.com


                                           WSBA 24393                                                WA
                                           Bar number                                                State




       Official Form 101                     Voluntary Petition for Individuals Filing for Bankruptcy                                            page 8

                  Case 22-40997-BDL          Doc 1        Filed 08/11/22           Ent. 08/11/22 16:17:03                  Pg. 8 of 14
DocuSign Envelope ID: 6E9FD92D-DAEF-427F-8F6D-0B10B7AFBB16




       Notice Required by 11 U.S.C. § 342(b) for
       Individuals Filing for Bankruptcy (Form 2010)



         This notice is for you if:
                                                                       Chapter 7: Liquidation

            You are an individual filing for bankruptcy,
            and                                                               $245    filing fee
                                                                               $78    administrative fee
            Your debts are primarily consumer debts.                   +       $15    trustee surcharge
            Consumer debts are defined in 11 U.S.C. § 101(8)
                                                                              $338    total fee
            as "incurred by an individual primarily for a
            personal, family, or household purpose."
                                                                       Chapter 7 is for individuals who have financial difficulty
                                                                       preventing them from paying their debts and who are
                                                                       willing to allow their non-exempt property to be used to
       The types of bankruptcy that are available                      pay their creditors. The primary purpose of filing under
       to individuals                                                  chapter 7 is to have your debts discharged. The
                                                                       bankruptcy discharge relieves you after bankruptcy from
                                                                       having to pay many of your pre-bankruptcy debts.
                                                                       Exceptions exist for particular debts, and liens on
       Individuals who meet the qualifications may file under one
                                                                       property may still be enforced after discharge. For
       of four different chapters of the Bankruptcy Code:
                                                                       example, a creditor may have the right to foreclose a
                                                                       home mortgage or repossess an automobile.
           Chapter 7 -- Liquidation
                                                                       However, if the court finds that you have committed
           Chapter 11 -- Reorganization                                certain kinds of improper conduct described in the
                                                                       Bankruptcy Code, the court may deny your discharge.
           Chapter 12 -- Voluntary repayment plan for family
                         farmers or fishermen                          You should know that the even if you file chapter 7 and
                                                                       you receive a discharge, some debts are not discharged
                                                                       under the law. Therefore, you may still be responsible to
           Chapter 13 -- Voluntary repayment plan for
                                                                       pay:
                         individuals with regular income
                                                                            most taxes;
       You should have an attorney review your                              most student loans;
       decision to file for bankruptcy and the choice
       of chapter.                                                          domestic support and property settlement obligations;




       Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                             page 1


              Case 22-40997-BDL            Doc 1      Filed 08/11/22       Ent. 08/11/22 16:17:03          Pg. 9 of 14
DocuSign Envelope ID: 6E9FD92D-DAEF-427F-8F6D-0B10B7AFBB16




           most fines, penalties, forfeitures, and criminal                for your state of residence and family size, depending
           restitution obligations; and                                    on the results of the Means Test, the U.S. trustee,
                                                                           bankruptcy administrator, or creditors can file a motion to
           certain debts that are not listed in your bankruptcy            dismiss your case under § 707(b) of the Bankruptcy
           papers.                                                         Code. If a motion is filed, the court will decide if your
                                                                           case should be dismissed. To avoid dismissal, you may
       You may also be required to pay debts arising from:                 choose to proceed under another chapter of the
                                                                           Bankruptcy Code.
           fraud or theft;
                                                                           If you are an individual filing for chapter 7 bankruptcy, the
           fraud or defalcation while acting in breach of fiduciary
                                                                           trustee may sell your property to pay your debts, subject
           capacity;
                                                                           to your right to exempt the property or a portion of the
                                                                           proceeds from the sale of the property. The property,
           intentional injuries that you inflicted; and
                                                                           and the proceeds from property that your bankruptcy
           death or personal injury caused by operating a motor            trustee sells or liquidates that you are entitled to, is
           vehicle, vessel, or aircraft while intoxicated from             called exempt property. Exemptions may enable you to
           alcohol or drugs.                                               keep your home, a car, clothing, and household items or
                                                                           to receive some of the proceeds if the property is sold.
       If your debts are primarily consumer debts, the court can
       dismiss your chapter 7 case if it finds that you have               Exemptions are not automatic. To exempt property, you
       enough income to repay creditors a certain amount. You              must list it on Schedule C: The Property You Claim as
       must file Chapter 7 Statement of Your Current Monthly               Exempt (Official Form 106C). If you do not list the
       Income (Official Form 122A-1) if you are an individual filing       property, the trustee may sell it and pay all of the
       for bankruptcy under chapter 7. This form will determine            proceeds to your creditors.
       your current monthly income and compare whether your
       income is more than the median income that applies in
       your state.

       If your income is not above the median for your state,
                                                                           Chapter 11: Reorganization
       you will not have to complete the other chapter 7 form,
       the Chapter 7 Means Test Calculation (Official Form                      $1,167   filing fee
       122A-2).                                                                   $571   administrative fee
                                                                           +
       If your income is above the median for your state, you must              $1,738   total fee
       file a second form--the Chapter 7 Means Test Calculation
       (Official Form 122A-2). The calculations on the form--              Chapter 11 is often used for reorganizing a business, but
       sometimes called the Means Test-- deduct from your                  is also available to individuals. The provisions of chapter
       income living expenses and payments on certain debts to             11 are too complicated to summarize briefly.
       determine any amount available to pay unsecured
       creditors. If your income is more than the median income




       Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                   page 2


              Case 22-40997-BDL              Doc 1        Filed 08/11/22       Ent. 08/11/22 16:17:03          Pg. 10 of 14
DocuSign Envelope ID: 6E9FD92D-DAEF-427F-8F6D-0B10B7AFBB16




               Read These Important Warnings

               Because bankruptcy can have serious long-term financial and legal consequences, including loss of
               your property, you should hire an attorney and carefully consider all of your options before you file.
               Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
               and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
               properly and protect you, your family, your home, and your possessions.

               Although the law allows you to represent yourself in bankruptcy court, you should understand that
               many people find it difficult to represent themselves successfully. The rules are technical, and a
               mistake or inaction may harm you. If you file without an attorney, you are still responsible for
               knowing and following all of the legal requirements.

               You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
               necessary documents.

               Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
               bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
               fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
               to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                       Under chapter 13, you must file with the court a plan to
       Chapter 12: Repayment plan for family farmers                   repay your creditors all or part of the money that you owe
                   or fishermen                                        them, usually using your future earnings. If the court
                                                                       approves your plan, the court will allow you to repay your
                                                                       debts, as adjusted by the plan, within 3 years or 5 years,
               $200   filing fee                                       depending on your income and other factors.
       +        $78   administrative fee
                                                                       After you make all the payments under your plan, many
               $278   total fee
                                                                       of your debts are discharged. The debts that are not
                                                                       discharged and that you may still be responsible to pay
       Similar to chapter 13, chapter 12 permits family farmers
                                                                       include:
       and fishermen to repay their debts over a period of time
       using future earnings and to discharge some debts that
       are not paid.                                                        domestic support obligations,
                                                                            most student loans,
                                                                            certain taxes,
       Chapter 13: Repayment plan for individuals with
                   regular income                                           debts for fraud or theft,
                                                                            debts for fraud or defalcation while acting in a
                                                                            fiduciary capacity,
                 $235    filing fee
           +      $78    administrative fee
                                                                            most criminal fines and restitution obligations,
                 $313    total fee
                                                                            certain debts that are not listed in your bankruptcy
                                                                            papers,
       Chapter 13 is for individuals who have regular income
       and would like to pay all or part of their debts in
                                                                            certain debts for acts that caused death or personal
       installments over a period of time and to discharge
                                                                            injury, and
       some debts that are not paid. You are eligible for
       chapter 13 only if your debts are not more than certain
                                                                            certain long-term secured debts.
       dollar amounts set forth in 11 U.S.C. § 109.




       Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                 page 3


               Case 22-40997-BDL              Doc 1   Filed 08/11/22      Ent. 08/11/22 16:17:03            Pg. 11 of 14
DocuSign Envelope ID: 6E9FD92D-DAEF-427F-8F6D-0B10B7AFBB16




                                                                        A married couple may file a bankruptcy case together--
         Warning: File Your Forms on Time                               called a joint case. If you file a joint case and each
                                                                        spouse lists the same mailing address on the
         Section 521(a)(1) of the Bankruptcy Code requires              bankruptcy petition, the bankruptcy court generally will
         that you promptly file detailed information about              mail you and your spouse one copy of each notice,
         your creditors, assets, liabilities, income, expenses          unless you file a statement with the court asking that
         and general financial condition. The court may                 each spouse receive separate copies.
         dismiss your bankruptcy case if you do not file this
         information within the deadlines set by the
         Bankruptcy Code, the Bankruptcy Rules, and local
         rules of the court.                                            Understand which services you could
                                                                        receive from credit counseling agencies
         For more information about the documents and
         their deadlines, go to:
                                                                        The law generally requires that you receive a credit
         http://www.uscourts.gov/forms/bankruptcy-forms                 counseling briefing from an approved credit counseling
                                                                        agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                        case, both spouses must receive the briefing. With
                                                                        limited exceptions, you must receive it within the 180
                                                                        days before you file your bankruptcy petition. This
       Bankruptcy crimes have serious                                   briefing is usually conducted by telephone or on the
       consequences                                                     Internet.

           If you knowingly and fraudulently conceal assets or          In addition, after filing a bankruptcy case, you generally
           make a false oath or statement under penalty of              must complete a financial management instructional
           perjury--either orally or in writing--in connection with     course before you can receive a discharge. If you are
           a bankruptcy case, you may be fined, imprisoned, or          filing a joint case, both spouses must complete the
           both.                                                        course.

                                                                        You can obtain the list of agencies approved to provide
           All information you supply in connection with a              both the briefing and the instructional course from:
           bankruptcy case is subject to examination by the
           Attorney General acting through the Office of the            http://www.uscourts.gov/services-
           U.S. Trustee, the Office of the U.S. Attorney, and           forms/bankruptcy/credit-counseling-and-debtor-
           other offices and employees of the U.S. Department           education-courses.
           of Justice.
                                                                        In Alabama and North Carolina, go to:
                                                                        http://www.uscourts.gov/services-
       Make sure the court has your mailing                             forms/bankruptcy/credit-counseling-and-debtor-
                                                                        education-courses.
       address

       The bankruptcy court sends notices to the mailing address        If you do not have access to a computer, the clerk of the
       you list on Voluntary Petition for Individuals Filing for        bankruptcy court may be able to help you obtain the list.
       Bankruptcy (Official Form 101). To ensure you receive
       information about your case, Bankruptcy Rule 4002
       requires that you notify the court of any changes in your
       address.




       Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                               page 4


              Case 22-40997-BDL             Doc 1      Filed 08/11/22     Ent. 08/11/22 16:17:03           Pg. 12 of 14
DocuSign Envelope ID: 6E9FD92D-DAEF-427F-8F6D-0B10B7AFBB16




                                          UNITED STATES BANKRUPTCY COURT
                                          WESTERN DISTRICT OF WASHINGTON
                                                  SEATTLE DIVISION
       IN RE:   Stephen Robert Brown                                                  CASE NO

                                                                                      CHAPTER     11

                                         VERIFICATION OF CREDITOR MATRIX

          The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
    knowledge.




           8/11/2022
    Date                                                     Signature
                                                                         Stephen Robert Brown




    Date                                                     Signature




                Case 22-40997-BDL         Doc 1      Filed 08/11/22        Ent. 08/11/22 16:17:03         Pg. 13 of 14
DocuSign Envelope ID: 6E9FD92D-DAEF-427F-8F6D-0B10B7AFBB16




    BANK OF AMERICA                            SOLANO COUNTY TREASURER
    ATTN: BANKRUPTCY                           PO BOX 51094
    4909 SAVARESE CIRCLE                       LOS ANGELES, CA 90051
    TAMPA, FL 33634


    BROWN FAMILY DECEDENTS TRUST               STEPHEN ROBERT BROWN
    ROBERT G. BROWN, TRUSTEE                   245 SHOREWOOD COURT
    3702 85TH AVE NW                           FOX ISLAND, WA 98333
    OLYMPIA, WA 98502


    CALIFORNIA DEPARTMENT OF TAX ANDTIMOTHY
                                      FEE   E WILLIAMS, ATTORNEY AT LAW
    ADMINISTRATION                  5302 PACIFIC AVE
    SPECIAL OP BANKRUPTCY TEAM MIC: TACOMA,
                                     74     WA 98408
    P.O. BOX 942879
    SACRAMENTO, CA 94279-0074

    IRS INSOLVENCY
    PO BOX 21126 BANKRUPTCY CORRESPONDENCE
    PHILADELPHIA, PA 19114



    IRS SPECIAL PROCEDURES
    915 2ND AVE
    SEATTLE, WA 98174



    LAW OFFICE OF MARK MCCLURE, P.S.
    1103 W MEEKER ST, STE 101
    KENT, WA 98032



    LISAH S. MOEGLING
    725 10TH AVE
    FOX ISLAND, WA 98333



    NEWMAN DU WORS LLP
    NEWMAN DU WORS
    2101 4TH AVE STE 1500
    SEATTLE, WA 98121


    PIERCE COUNTY ASSESSOR-TREASURER
    2401 SOUTH 35TH ST ROOM 142
    TACOMA, WA 98409




              Case 22-40997-BDL           Doc 1     Filed 08/11/22   Ent. 08/11/22 16:17:03   Pg. 14 of 14
